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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA              )
                                      )
v.                                    )      Case No. 21-cr-00028(APM)
                                      )
THOMAS E. CALDWELL, et al.            )
    Defendants                        )

                           MOTION TO WITHDRAW

      COMES NOW, Thomas K. Plofchan, Jr, and Westlake Legal Group, PLLC,

and pursuant to Rule LCrR 44.5 Rules of the United States District Court for the

District of Columbia, moves this Honorable Court to withdraw as counsel of record

for Defendant Thomas Edward Caldwell in the above-styled case, and in support

thereof, respectfully states that David W. Fischer of Law Offices of Fischer and

Putzi, PA entered his Notice of Appearance on February 23, 2021 on behalf of

Defendant Thomas Edward Caldwell.

      Undersigned counsel verbally communicated with Thomas Edward Caldwell

on February 24, 2021 and on February 24, 2021 sent a copy of this Motion to Central

Virginia Regional Jail located at 13021 James Madison Hwy, Orange, VA 22960.

                                Respectfully submitted by,

                                Thomas Edward Caldwell
                                By Counsel
WESTLAKE LEGAL GROUP

               /S/
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E-mail: tplofchan@westlakelegal.com
Counsel for Defendant Thomas Edward Caldwell




                           CERTIFICATE OF SERVICE

       I certify that on this 24th day of February, 2021, I electronically filed the
foregoing Motion to Withdraw using the CM/ECF System, which will send notice
of such filing to the following registered CM/ECF users:

      Kathryn Leigh Rakoczy at kathryn.rakoczy@usdoj.gov


                                            /S/
                                Thomas K. Plofchan, Jr., Esq.




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